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Pro Se 14 (Rev. 09/16) C0mplaint for Violation of Civil Rights (Prisoner)



                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Eastern District of Pennsylvania



                                                                               )      Case No.
                                                                               )                 (to be filled in by the Clerk 's Office)
                                                                               )
                               Plaintiff(s)
                                                                               )
(Write the ju.II name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,              )
please write "see attached" in the space and attach an additional              )
page with the ju.II list of names.)                                            )
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                                                                               )
                                                                               )
~ CuA r ~ fa!D wbo .n o ct Pr:mffA.rv )
                             Defendant(s)                                      )
(Write the fall name of each defendant who is being sued If the                )
names of all the defendants cannot fit in the space above, please              )
write "see attached" in the space and attach an additional page
with the fall list of names. Do not include addresses here.)



                                    COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                                (Prisoner Complaint)


                                                                            NOTICE

     Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
     electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
     security number or full birth date; the full name of a person known to be a minor; or a complete financial account
     number. A filing may include only: the last four digits of a social security number; the year of an individual's
     birth; a minor's initials; and the last four digits of a financial account number.

     Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
     other materials to the Clerk's Office with this complaint.

     In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
      forma pauperis.




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I.         The Parties to This Complaint

           A.         The Plaintiff(s)


                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                            Name
                            All other names by which
                            you have been known:
                            ID Number
                            Current Institution
                            Address


                                                                                       City              State              Zip Code


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
                      listed below are identical to those contained in the above caption. For an individual defendant, include
                      the person's job or title (if known) and check whether you are bringing this complaint against them in their
                      individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant N o. 1
                             Name
                             Job or Title (if known)
                             Shield Number
                             Employer
                             Address
                                                                             EN>:tP'f"'>               p_B
                                                                                       City              -State             Zip Code

                                                                            D Individual capacity [2foffi.cial capacity
                      Defendant No. 2
                             Name                                       '1/s )to< t Ace tn £.d/Ut..l              St?Jf
                             Job or Title (if known)                        k)e.d'\L?t\.l
                             Shield Number
                             Employer
                             Address

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                                                                                                          State
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                                                                                                                            Zip Code

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                      DefendantNo. 3
                            Name
                            Job or Title (if known)
                            Shield Number
                            Employer
                            Address

                                                                                      City             State            Zip Code

                                                                            D Individual capacity D Official capacity
                      Defendant No . 4
                            Name
                             Job or Title (if known)
                             Shield Number
                             Employer
                             Address

                                                                                      City              State           Zip Code

                                                                            D Individual capacity D Official capacity
II.        Basis for Jurisdiction

           Under 42 U.S.C. § 1983 , you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Si:x Unknown Named Agents of
           Federal Bureau ofNarcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.          Are you bringing suit against (check all that apply) :

                       D     Federal officials (a Bivens claim)

                       0state or local officials (a§ 1983 claim)

           B.          Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                       the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                       federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




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            C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                       are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                       officials?




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           D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.




III.       Prisoner Status

           Indicate whether you are a prisoner or other confined person as follows        (check all that apply):

           D           Pretrial detainee

           D           Civilly committed detainee

           D           Immigration detainee

           D           Convicted and sentenced state prisoner

           D           Convicted and sentenced federal prisoner

            ~          Other    (explain)        \,)if1\"C\ Cb ~iW::? Co H,W\   fr;Sot?     Seo'.\z::t.q    eel     .\-tJ ~~ :\) cnQ..
 IV.       Statement of Claim

           State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
           alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
           further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
           any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
           statement of each claim in a separate paragraph. Attach additional pages if needed.


           A.          If the events giving rise to your claim arose outside an institution, describe where and when they arose.
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          C.          What date and approximate time did the events giving rise to your claim(s) occur?




          D.          What are the facts underlying your claim(s)? (For example: What happened to you ? Who did what?
                      Was anyone else involved? Who else saw what happened?)T lv"-S         ,n__    .,
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V.        Injuries

          If you sustained injuries related to the events alleged above, describe your in.juries and state what medical
          treatment, if any, you required and did or did not receive.
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VI.       Relief

          State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
          If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
          the acts alleged. Explain. the basis for these claims.



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VII.     Exhaustion of Administrative Remedies Administrative Procedures

          The Prison Litigation Reform Act ("PLRA"), 42 U.S.C. § 1997e(a), requires that "[n]o action shall be brought
          with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
          in any jail, prison, or other correctional facility until such administrative remedies as are available are
          exhausted."

          Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
          exhausted your administrative remedies.


          A.          Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility ?

                      ~es



                      If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
                      events giving rise to your claim(s).




          B.          Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
                      procedure?

                       C2f'Y es

                       •     No

                       D Do not know
          C.           Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
                       cover some or all of your claims?

                       D Yes
                       ~        o

                       D Do not know
                       If yes, which claim(s)?




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          D.          Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
                      concerning the facts relating to this complaint?

                       ~es



                      If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
                      other correctional facility?

                       0Yes

                       ~o


          E.          If you did file a grievance:

                       1.    Where did you file the grievance?




                       2.    What did you claim in your grievance?

                            \\-v..-\- \ WAS 4SGAv) te Ji_                   b"\   \v,   "1 u   l( 'j .




                       3.    What was the result, if any?




                       4.    What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
                             not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)




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         F.           If you did not file a grievance:

                      1.    If there are any reasons why you did not file a grievance, state them here:




                      2.    If you did not file a grievance but you did inform officials of your claim, state who you informed,
                            when and how, and their response, if any:




          G.          Please set forth any additional information that is relevant to the exhaustion of your administrative
                      remedies.




                      (Note. You may attach as exhibits to this complaint any documents related to the exhaustion ofyour
                      administrative remedies.)


VIII. Previous Lawsuits

          The "three strikes rule" bars a prisoner from bringing a civil action or an appeal in federal court without paying
          the filing fee if that prisoner has "on three or more prior occasions, while incarcerated or detained in any facility,
          brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
          malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
          danger of serious physical injury." 28 U.S .C. § 1915(g).

          To the best of your knowledge, have you had a case dismissed based on this "three strikes rule"?

          0Yes

          ~o


          If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.




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         A.           Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
                      action?

                      D Yes
                      ~o


          B.          If your answer to A is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      1.     Parties to the previous lawsuit
                             Plaintiff(s)
                             Defendant(s)


                      2.     Court (iffederal court, name the district; if state court, name the county and State)




                       3.    Docket or index number




                       4.    Name of Judge assigned to your case



                       5.    Approximate date of filing lawsuit




                       6.    Is the case still pending?

                             0Yes

                            •     No

                             If no, give the approximate date of disposition.


                       7.    What was the result of the case? (For example: Was the case dismissed? Was judgment entered
                             in your favor? Was the case appealed?)




           C.          Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
                       imprisonment?



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                      D Yes
                      •      No


          D.          If your answer to C is yes, describe each lawsuit by answering questions 1 through 7 below. (If there is
                      more than one lawsuit, describe the additional lawsuits on another page, using the same format.)


                      1.     Parties to the previous lawsuit
                             Plaintiff(s)
            j.               Defendant(s)

                      2.     Court (iffederal court, name the district; if state court, name the county and State)




                      3.     Docket or index number



                      4.     Name of Judge assigned to your case



                       5.    Approximate date of filing lawsuit



                       6.    Is the case still pending?

                             0Yes

                             •    No

                             If no, give the approximate date of disposition

                       7.    What was the result oftbe case? (For example: Was the case dismissed? Was j udgment entered
                             in your favor ? Was the case appealed ?)




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IX.      Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          UD11ecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         .requirements of Rule 11.



          A.          For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal ·o f my case.


                       Date of signing:


                       Signature of Plaintiff
                       Printed Name of Plaintiff
                       Prison Identification #
                       Prison Address
                                                                                            e.a
                                                                                              State           Zip Code



            B.          For Attorneys


                        Date of signing:


                         Signature of Attorney
                        Printed Name of Attorney
                         Bar Number
                         Name of Law Firm
                         Address

                                                                            City               State           Zip Code


                         Telephone Number
                         E-mail Address




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